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 7
                                     IN THE UNITED STATES DISTRICT COURT
 8
                                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                              CASE NO. 2:11-CR-00210 JAM
11
                                          Plaintiff,        STIPULATION AND ORDER CONTINUING
12                                                          IMPOSITION OF JUDGMENT & SENTENCING
                               v.
13                                                          DATE: MAY 6, 2014
     VERA KUZMENKO, et. al.,                                TIME: 9:45 A.M.
14                                                          JUDGE: JOHN A. MENDEZ
                                          Defendants.
15

16
                                                        STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendant Vanik
18
     Atoyan, by and through his counsel of record, hereby stipulate that the status conference concerning
19
     judgment and sentencing in the matter presently set for May 6, 2014, at 9:45 a.m. may be vacated and
20
     the matter continued to February 17, 2015, at 9:30 a.m. for a status conference regarding the imposition
21
     of judgment and sentence.
22
            Mr. Atoyan’s plea agreement with the government contains a cooperation provision and the
23
     government is not able to adequately assess the degree of his cooperation until the charges against others
24
     have been tried or otherwise disposed of. For that reason, the parties have stipulated that the current
25
     date for a status conference concerning imposition of judgment and sentencing may be vacated and the
26
     matter continued to February 17, 2015, at 9:30 a.m. for a status conference regarding a new date for
27
     imposition of judgment and sentencing and the setting of a new schedule of disclosures for the pre-
28

     Stipulation to Continue Sentencing                      1
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 1 sentencing report.

 2 IT IS SO STIPULATED.

 3 DATED: April 10, 2014                                 BENJAMIN B. WAGNER
                                                         United States Attorney
 4
                                                         /s/ Lee S. Bickley
 5                                                       LEE S. BICKLEY
                                                         Assistant United States Attorney
 6
                                                         For the UNITED STATES OF AMERICA
 7

 8 DATED: April 10, 2014                                 /s/ Lee S. Bickley for
                                                         GARY TALESFORE
 9
                                                         For defendant VANIK ATOYAN
10

11

12
                                                    ORDER
13

14          IT IS SO FOUND AND ORDERED that for good cause appearing from the stipulation of the
15
     parties that the status conference concerning imposition of judgment and sentencing in this matter
16
     currently scheduled for 9:45 a.m. on May 6, 2014, is vacated and the matter is continued to February 17,
17
     2015, at 9:30 a.m. for a status conference regarding the imposition of judgment and sentence.
18

19 This 10th day of April, 2014.

20                                                       /s/ John A. Mendez_______________________
                                                         HONORABLE JOHN A. MENDEZ
21                                                       UNITED STATES DISTRICT COURT JUDGE
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     Stipulation to Continue Sentencing                 2
